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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


WALTER PATRICK,                                  :

       Plaintiff,                                :

vs.                                              :   CIVIL ACTION 2:10-00592-CG-C

STUART C. DUBOSE, et al.,                        :

       Defendants.                               :


                               REPORT AND RECOMMENDATION

       This matter comes before the Court, sua sponte, for a determination of subject matter

jurisdiction. After due consideration, it is recommended that this action be dismissed for lack of

subject matter jurisdiction.

I. Nature of Proceedings.

       Plaintiff commenced this action by filing a Complaint against three Defendants, attorneys

Stuart C. Dubose, Philip Perkins, and James E. Kimbrough. (Doc. 5 at 5-6). Plaintiff alleges

that on approximately August 30, 2002, he paid $60,000.00 to the Stuart C. Dubose, P.C. Law

Firm for legal representation in his criminal trials in Clark County, and that he never received

any representation from the lawyers of this firm in Clark County. (Doc. 5 at 5). The $60,000.00

was allegedly paid on August 30, 2002, and “went through to [his] trial” which was on April 19,

2004. (Id.). Mr. Dubose is identified as the person who collected his money, and that during the

time period, it is Mr. Patrick’ position that Mr. Dubose was “suffering from diminished mental

capacity.” (Id.). Plaintiff has filed a complaint against Mr. Dubose with the Alabama Bar

Association, and that Mr. Dubose consented to disbarment in connection with Plaintiff’s case.
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(Id.). Plaintiff contends that Defendant attorney Philip Perkins is also a member of the Stuart C.

Dubose P.C. Law Firm and that Mr. Perkins received a portion of the money that Plaintiff paid to

the firm. (Id.). The final defendant, James E. Kimbrough, is reported as a member of the Stuart

C. Dubose, P.C. Law Firm, and it is alleged that he was paid money to represent Plaintiff, but he

provided no actual representation. (Id.).

       For relief, Plaintiff requests that he be awarded a refund of the $60,000.00 that he paid to

the Stuart C. Dubose P.C. Law Firm, plus interest and attorneys fees. (Id. at 7).

II. Analysis.

       A. Authority to Dismiss for Lack of Jurisdiction.

       The Court’s first consideration is to inquire into its jurisdiction, United States v. Denedo,

556 U.S. 904, 909, 129 S. Ct. 2213, 2219, 173 L. Ed. 2d 1235 (2009), as its jurisdiction is limited

by the Constitution or Congress to hear only certain actions. Kokkonen v. Guardian Life Ins.

Co., 511 U.S. 375, 377, 114 S. Ct. 1673, 1675, 128 L. Ed. 2d 391 (1994). “Because a federal

court is powerless to act beyond its statutory grant of subject matter jurisdiction, a court must

zealously insure that jurisdiction exists over a case, and should itself raise the question of subject

matter jurisdiction at any point in the litigation where a doubt about jurisdiction arises.” Smith v.

GTE Corp., 236 F.3d 1292, 1299 (11th Cir. 2001). This inquiry should be done at the earliest

stage in the proceedings and dismissed sua sponte whenever subject matter jurisdiction may be

lacking. University of South Alabama v. American Tobacco Co., 168 F.3d 405, 410 (11th Cir.

1999). “[O]nce a court determines that there has been no [jurisdictional] grant that covers a

particular case, the court’s sole remaining act is to dismiss the case for lack of jurisdiction.”

Morrison v. Allstate Indem. Co., 228 F.3d 1255, 1261 (11th Cir. 2000).



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        B. Lack of Federal Question Jurisdiction.

        Plaintiff has identified the jurisdictional basis for this action as arising under 42 U.S.C. §

1983. (Doc. 5 at 1). This Court is granted federal question jurisdiction under 28 U.S.C. § 1331

to hear cases based on violations of the Constitution of the United States and its laws. See 28

U.S.C. § 1331 (“The district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States”). “Absent diversity of citizenship,

a plaintiff must present a ‘substantial’ federal question in order to invoke the district court's

jurisdiction.” Wyke v. Polk County. Sch. Bd., 129 F.3d 560, 566 (11th Cir. 1997) (citing Hagans

v. Lavine, 415 U.S. 528, 537, 94 S. Ct. 1372, 39 L. Ed. 2d 577 (1974)). “An ‘insubstantial’

federal question is one that is either ‘obviously without merit,’ or one that is clearly foreclosed

by previous Supreme Court decisions.” Id. (quoting Ex Parte Poresky, 290 U.S. 30, 32, 54 S. Ct.

3, 4, 78 L. Ed. 152 (1933)).

        A case “arises under” federal law for 28 U.S.C. § 1331 purposes only when a well-

pleaded complaint establishes either that federal law creates the cause of action or that the

plaintiff’s right to relief depends on resolution of a substantial question of federal law.

Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1, 27-28 (1983). In the present

action, Plaintiff makes no reference to a federal law in his Complaint. Rather, Plaintiff asserts

only claims of “non-representation” by his criminal defense attorneys. (Doc. 5 at 6). Plaintiff

states in his plea for relief that he is suing Defendants “under torts.” (Id. at 7). At best, Plaintiff

has asserted a state law claim of breach of contract against Defendants. “Section 1983 relief is

predicated on a denial of a right or interest protected by the Constitution.” Medical Laundry



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Serv. v. Board of Trustees of Univ. of Ala., 906 F.2d 571, 573 (11th Cir. 1990) (“[A] simple

breach of contract does not rise to the level of a constitutional deprivation.”).

       Accordingly, the Court finds that Plaintiff’s allegations do not support its federal question

jurisdiction because they fail to present a federal question, or even to reference a federal law.

III. Conclusion.

       “[O]nce a court determines that there has been no [jurisdictional] grant that covers a

particular case, the court’s sole remaining act is to dismiss the case for lack of jurisdiction.”

Morrison, 228 F.3d at 1261. Therefore, based upon the foregoing reasons, it is recommended

that this action be dismissed because the Court lacks subject matter jurisdiction.

       The instructions that follow the undersigned’s signature contain important information

regarding objections to the Report and Recommendation of the Magistrate Judge.

       DONE this 9th day of May, 2012.

                                       s/WILLIAM E. CASSADY
                                       UNITED STATES MAGISTRATE JUDGE




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              MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS AND
                  RESPONSIBILITIES FOLLOWING RECOMMENDATION, AND
                      FINDINGS CONCERNING NEED FOR TRANSCRIPT

         l.     Objection. Any party who objects to this recommendation or anything in it must, within
fourteen (14) days of the date of service of this document, file specific written objections with the Clerk
of this court. Failure to do so will bar a de novo determination by the district judge of anything in the
recommendation and will bar an attack, on appeal, of the factual findings of the Magistrate Judge. See 28
U.S.C. § 636(b)(1)(C); Lewis v. Smith, 855 F.2d 736, 738 (11th Cir. 1988); Nettles v. Wainwright, 677
F.2d 404 (5th Cir. Unit B, 1982) (en banc). The procedure for challenging the findings and
recommendations of the Magistrate Judge is set out in more detail in SD ALA LR 72.4 (June 1, 1997),
which provides that:

                          A party may object to a recommendation entered by a
                magistrate judge in a dispositive matter, that is, a matter excepted by
                28 U.S.C. § 636(b)(1)(A), by filing a ‘Statement of Objection to
                Magistrate Judge’s Recommendation’ within ten days1 after being
                served with a copy of the recommendation, unless a different time is
                established by order. The statement of objection shall specify those
                portions of the recommendation to which objection is made and the
                basis for the objection. The objecting party shall submit to the
                district judge, at the time of filing the objection, a brief setting forth
                the party’s arguments that the magistrate judge’s recommendation
                should be reviewed de novo and a different disposition made. It is
                insufficient to submit only a copy of the original brief submitted to
                the magistrate judge, although a copy of the original brief may be
                submitted or referred to and incorporated into the brief in support of
                the objection. Failure to submit a brief in support of the objection
                may be deemed an abandonment of the objection.

                  A magistrate judge’s recommendation cannot be appealed to a Court of Appeals; only the
district judge’s order or judgment can be appealed.

        2.       Transcript (applicable Where Proceedings Tape Recorded). Pursuant to 28 U.S.C. §
1915 and FED. R. CIV. P. 72(b), the Magistrate Judge finds that the tapes and original records in this case
are adequate for purposes of review. Any party planning to object to this recommendation, but unable to
pay the fee for a transcript, is advised that a judicial determination that transcription is necessary is
required before the United States will pay the cost of the transcript.




        1
          Effective December 1, 2009, the time for filing written objections was extended to “14 days
after being served with a copy of the recommended disposition[.]” Fed. R. Civ. P. 72(b)(2).



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